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AO 199C (Rev. 09/08) Advice of Penalties                                                                              Page    3       of   3   Pages
                                           ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTl ES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to)-to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness. victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror. informant, or officer of the court. The penalties for tampering, retaliation, or intimidation arc
significantly more seri�us if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (I) an offense punishable by death, life imprisonment. or imprisonment for a term of fifteen years or more - you will be lined
             not more than $250,000 or imprisoned for not more than IO years. or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fif\een years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release. to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above .




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                                               Directions to the United States Marshal
(    ) The defendant is ORDERED released after processing.




                                                                                            J�iA
(    ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
       has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
        theappropriatejudgeat the tirne,nd pince specifoed,             ,
                                                                                                                      _
Date:   -----------
            08/21/2020                                                                         �
                                                                                       Jmlicial Of}icttr 's Sig11at11re
                                                                             James E. Boasberg, United States District Judge

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                    DISTRIBUTION:      COURT     DEFENDANT       !'RETRIAL SERVICE       US. A'ITORNEY                 U.S. MARSHAL
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